     Case 3:17-cr-03066-BAS Document 149 Filed 05/12/21 PageID.2162 Page 1 of 2



 1
 2
 3
 4
 5
 6
 7
 8                          UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           Case No. 17-cr-03066-BAS
12                                    Plaintiff,
                                                         ORDER DENYING MOTION FOR
13          v.                                           HARDSHIP CREDIT (ECF No. 147)
14   MARIA FERNANDA PENA RIVERA,
15                                  Defendant.
16
17         Presently before the Court is Defendant Maria Fernanda Pena Rivera’s Motion for
18   Hardship Credit for Hard Time Served. (ECF No. 147.) Ms. Pena Rivera submits that her
19   time in custody has been particularly harsh in light of the COVID-19 pandemic—with
20   reduced access to recreational services and increased confinement to her cell. (Id.)
21   Therefore, she asks that the Court grant her “two days of credit for one day served.” (Id.)
22         The Court recognizes that COVID-19 has taken its toll on those in custody.
23   However, because the Court has already sentenced Ms. Pena Rivera, any calculation of
24   credit for time served is within the exclusive province of the Bureau of Prisons, not the
25   Court. See See United States v. Peters, 470 F.3d 907, 908 (9th Cir. 2006) (per curiam); see
26   also Dillon v. United States, 560 U.S. 817, 824 (2010) (“A judgment of conviction that
27   includes a sentence of imprisonment constitutes a final judgment and may not be modified
28   by a district court except in limited circumstances.”). Further, Ms. Pena Rivera, who is 24

                                                   -1-
     Case 3:17-cr-03066-BAS Document 149 Filed 05/12/21 PageID.2163 Page 2 of 2



 1   years old, does not seek release from custody in light of the health risk COVID-19 poses
 2   specifically to her. Therefore, the Court DENIES her Motion for Hardship Credit for Hard
 3   Time Served.
 4         IT IS SO ORDERED.
 5
 6   DATED: May 12, 2021
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                               -2-
